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                                                                                            CHARLOfiE, NC

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                         IN THE UNITED STATES DISTRICT COURT                             US DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA                        WESTERN D:STRiCT OF NC
                                 CHARLOTTE DIVISION

                                  CRIMINAL NO.: 3: I 7cr89-MOC

UNITED STATES OF AMERICA
                                                                 CONSENT ORDER AND
                                                               JUDGMENT OF FORFEITURE
                                                                 PEN D ING RU LE 32.2(c)(2)
(l) JUAN DrEGO CONZALEZ-CAMPOS

        BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or other
legal interest in the propeny, IT IS HEREBY ORDERED THAT:

        I   .    The following property is forfeited to the United States pursuant to l8 U.S.C. $
1028 and/or l8 U.S.C. $ 982, provided, however, that forfeiture ofspecific assets is subject to
any and all third party petitions under 2l U.S.C. $ 853(n), pending final adjudication herein:

        25 Remington Golden Saber High Performance Jacket 147 gram 9mm luger rounds.

       2. The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody ofthe above specific asset(s).

        3.     If and to the extent required by Fed. R. Crim. P. 32.2(bX6), 2l U.S.C. $ 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

        4. Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days ofthe publication ofnotice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity ofthe alleged interest.

        5.      Pursuant to Fed. R. Crim. P. 32.2(b)(3). upon entry ofthis order, the United States
Attomey's Office is authorized to conduct any discovery needed to identifu, locate, or dispose of
the property, including depositions, interrogatories, and request for production ofdocuments, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

        6.      As to any specific assets, following the Court's disposition ofall timely petitions,
a final order offorfeiture shall be entered. Ifno third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose ofthe property according to law.




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        The parties stipulate and agree that the aforementioned asset(s) constitute property derived
from Defendant's crime(s) herein or property used in any manner to facilitate the commission of
such offense(s) and are therefore subject to forfeiture pursuant to l8 U.S.C. $ 1028 and/or l8
U.S.C. S 982. The Defendant hereby waives the requirements olFed. R. Crim. P. 32.2 and 43(a)
regarding notice of the forfeiture in the charging instrument, announcement of the lorfeiture at
sentencing, and incorporation ofthe forfeiture in thejudgment against Defendant. Ifthe Delendant
has previously submitted a claim in response to an administrative forfeiture proceeding regarding
any of this property, Defendant hereby withdraws that claim. If Defendant has not previously
submitted such a claim, Defendant hereby waives all right to do so. As to any firearms listed above
and/or in the charging instrument, Defendant consents to destruction by federal, state, or local law
enforcement authorities upon such legal process as they, in their sole discretion deem to legally
sufficient, and waives any and all right to further notice of such process or such destruction.


JILL WESTMORELAND ROSE
UNITED STATES4TTORNEY


                                                     J. Pte sa Gorz+le> U*'p o:
KENNETH M. SMITH                                     JUAN DIEGO GONZALEZ-CAMPOS
Assistant United States Attorney                     Defendant




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signea tnis tne   24 \ay of September, 2017.



                                              UNrED STATES AAb$ie,AT L                     JUDGE




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